            Case 4:12-cr-00014-JLK                   Document 170 Filed 02/25/13          Page 1eL
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                                                                486                                        ATYyvlûbi'VA
  AO2458     (Rev.9/11-VâW Additions6/05)JudgmtntinaCl
                                                     iminalCase                                               gjprn
             Sheet1


                                 UNITED STATES DISTRICT COURT                                        auuA
                                                                                                    BY;
                                                                                                                          c
                                          W estern D istrictOfV irginia                                     E .
                                                                                                              rk L R
        UNITED STATESOFAMERICA                               JUDGM ENT IN A CRIM INAL CASE
                        V.                                   CaseNumber: DVAW412CR000014-005
      BUFORD LEANDER PRESTON                                 Case N um ber:
                                                             USM N um ber; 16716-084
                                                             M ichaelP.Regan,Esq.
                                                             Defendant'sAttorney
THE DEFENDANT.         .
i
Klpleadedguiltytocountts)    1
Z pleadednolocontenderetocountts)
   whichwasacceptedbythecourt.
Z wasfoundguiltyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title& section
        -                   N atureofOffense                                               O ffenseEnded         Count-



21U.S.C.j846;21 Conspiracy toDistributeM oreThan5,000GramsofCocaine                            3/26/12                1
U.S.C.841(b)(1)(A)




      Thedefendantissentencedasprovidedinpages2through             6       ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
K Countts)               6                  X is Z aredismissedonthemotionoftheUnitedStates.
        ltisorderedthatthedefendptmustnotifytd
                                             heUnltedStatesattomeyforthisdijtrjctwithin30daysofpnychangeofname,residepce
o rmai
     ling
        d addressunt
                   lla11fi
                         nes,res
                               tlt
                                 uti
                                   on,cos
                                        ts,an  speclalassessmelpslmposedlythlsJudgmçntarefullypald.Iforderedtopayrestitutlon,
thedefen antmustnotify thecourtandUnitedStatesattorney ofm aterlalchangesln econom lcclrcum stances.
                                                             2/25/13
                                                             DateofImpositionofJudgment

                                                                                                                          f
                                                         '   Sir ature fJudge



                                                             Jackson L.Kiser.SeniorUnited StatesDistrictJudge
                                                             NameandTitleofJudge



                                                             Dat
            Case 4:12-cr-00014-JLK               Document 170 Filed 02/25/13               Page 2 of 6        Pageid#:
                                                            487
AO 2458     (Rev.9/11-VAW Addi
                             ti
                              ons6/05)Judgmenti
                                              nCriminalCase
            Sheet2-Im prisomnent                      .                      -         .. -           . .--                  --
                                                                                              Judgment-Page   2   of     6
D EFEN D AN T: BUFORD LEANDER PRESTON
CA SE N UM BER :D VAW 412CR000014-005


                                                          IM PRISONM ENT

       Thedefendantisherebycom mittedtothecustodyoftheUnited StatesBureau ofPrisonstobeimprisonedfora
totalterm of:
   72m onths.




     K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
     thatthedefendantparticipateintheResidentialDrugTreatm entProgram whileimprisoned.



     K ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
     E:lThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
         I---I at                         L aam. I-Ipm .       .
                                                                    on

         r-1 asnotifiedbytheUnited StatesMarshal.
     r'
      -l ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
         U1 before        on
         N asnotifiedbytheUnited StatesM arshal.
         r7 asnotifiedbytheProbation orPretrialSewicesOffice.


                                                              RETURN
 Ihaveexecutedthisjudgmentasfollows:




         D efendantdelivered on                                                  to

 a                                               ,withacertifiedcopyofthisjudgment.


                                                                                         UNITED STATESMARSHAL

                                                                   By
                                                                                      DEPUTY UNITED ZTATESMARSHAL
            Case 4:12-cr-00014-JLK              Document 170 Filed 02/25/13                Page 3 of 6         Pageid#:
                                                           488

AO 2458     (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase
             Sheet3- SupervisedRelease
                                                                                              Judgment- page   3    of      6
DEFENDANT: BUFORD LEANDER PRESTON
CASE NUM BER:DVAW 412CR000014-005
                                                   SUPERVISED RELEASE
Upon releasefrom imprisonm ent,the defendantshallbeon supervised release fora term of:
5 years.

           Thedefendantmus!reporttotheprobation offceinthedistricttowhichthedefendantisreleasedwithin72hoursofreleasefrom the
custody oftheBureauofPrlsons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
ThedefendantshallnotunlawfullyppssessacontrolledspbjtancesThedefendantshallrefrain from anyunlawfuluseofaqontrolled
substance.Thedefepdantshallsubm lttoonedrugtestwlthln 15daysofreleasefrom im prisonm entandatleasttwoperiodlcdrugtests
thereafter,asdetenm nedby thecourt.
     Theabovedrugtesting conditionissuspended,basedonthecourt'sdeterm inationthatthedefendantposesalow riskof
     futuresubstanceabuse.(Check,fapplicable.
                                            )
K    ThedefendantshallnotpossessaGrearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Checkfapplicable.
                                                                                                                )
K    ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobation officer.(Check,tfapplicable)
     TheidefendantshallcomplywiththerequirementsottheSexOffenderRegistrationandNotificationAc!(42I/.S.C.j16901,qtseq.j
     asdrectedbytheprobatlonoffiger
                                  uthej-BureayofPrlsonsjoranystatesexoffen
     works,isastudent,orw asconvlct o aquallfying offen e. (check,fapplicable.
                                                                             )
                                                                              derregistrationagencylnwhlchheorsheresldes,

     Thedefendantshallparticipatein anapprovedprogram fordom esticviolence.(Check,fapplicable.
                                                                                             )
        Ifthisjudgmentimposeyafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
        Thedefendantmustcomplywiththestandard conditionsthathavebeen adoptedbythiscourtaswellasw ithanyadditionalconditions
ontheattached page.
                                      STAN DA RD CONDITIO NS O F SUPERVISION
          thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
          thedefendantshallreporttotheprobationofficerin am annerandfrequencydirectedbythecourtorprobationofficer;
          thedefendantshallanswertnlthfully a1linquiriesby theprobationofficerandfollow theinstructionsoftheprobationofficer;
          thedefendantshallsupporthisorherdependentsandm eetotherfamilyresponsibilities;
          thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobation officerforschooling,training,orother
          acceptablereasons',
          thedefendantshallnotify theprobationofficeratleastten dayspriorto any changeinresidenceorem ployment;
          thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,useAdistribute,oradplinisterany
          controlledsubstanceorany paraphernallarelatedtoanycontrolledsubstances,exceptasprescribedby aphyslcian;
  8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
  9) thedefendantshallnotassoçialewithany'   p
                                             bersonsengatale
     felony,unlessgrantedperm lsslon to do so ytheproBa-
                                                            dincriminalactivityandshallnotassociatewithanypersonconvictedofa
                                                           onofficer;
 10) thedefendantshallpermitaprobationofficertovisithim orheratanytimeathomeorelsewhereandshallpermitconfiscationofany
          contrabandobserved inplain view oftheprobation officer;
          thedefendantshallnotifytheprobation officerwithin seventp twohoursofbeingarrestedorquestioned by a1aw enforcem entofficer;
 12) thedçfepdantshallnotenterintoanyagreementto actasan informerora specialagentofa1aw enforcementagencywithoutthe
          permlsslon ofthecourt;and

 13) asdirectedbytheprpbationofficer,ths(efendantshallnotifythirdparjesofrisksthatmaybeoccaëionedbythedefendant'scriminal
     reecfo
     d     rdorpersonaljlstoryprcharactqlstlcsandshallpermittheprobatlonofficertomakesuchnotlficationsandtoconfirm the
          endanf scom pllance wlth such notlfication requirem ent.
           Case 4:12-cr-00014-JLK               Document 170 Filed 02/25/13             Page 4 of 6        Pageid#:
                                                           489
 AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
            Sheet342-SupervisedRelease
                                                                                           Judgment-page       4   of    6
 D EFEN DAN T: BUFORD LEANDER PRESTON
 CA SE N UM BER :DVAW 412CR000014-005

                                SPECIAL CONDITIONS O F SUPERVISION
1.Thedefendantshallpayanyspecialassessmentimposedbythisjudgment.
2.Thedefendantshallparticipateinaprogram oftestingandtreatm entforsubstanceabuse,asapprovedby theprobationofficer,untilsuch
tim e asthe defendanthassatisfied allrequirem entsofthe program .
3.The defendantshallreside in a residence freeoftireanns,am munition,destnzctivedevicesand dangerousweapons.

4.Thedefendantshallsubm ittowarrantlesssearchand seizureofperson andproperty asdirected bytheprobation officer,todeterm ine
whetherthedefendantisinpossessionoffirearms,illegalcontrolledsubstancesandalcohol.
          Case 4:12-cr-00014-JLK                   Document 170 Filed 02/25/13                Page 5 of 6            Pageid#:
                                                              490
AO 2458    (Rev.W11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet5-Crim inalM onetae Penalties
                                                                                          Judgm ent-Page         5      of      6
D EFEN D AN T: BUFORD LEANDER PRESTON
CA SE NU M BER :DVAW 412CR000014-005
                                           CRIM IN AI,M ONETAR Y PENALTIES
    Thedefendantm ustpaythetotalcrim inalmonetary penaltiesunderthescheduleofpaymentsonSheet6.

                     Assessm ent                                   Fine                            Restitution
 TOTA LS          5 100.00                                     5                               $


(
-1 Thedeterminationofrestitutionisdeferreduntil                 .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
    aftersuch determ ination.

EEl Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
    lfthedefendantmakesapartialpayment,eachpayeeshallreceiveanapproximately proportionedpayment,unlessspecifiedotherwise
    in thtpriority orderorpercentagepaym entcolumn below. How ever, pursuantto 1sU.
                                                                                  S.C j3664(1),a11nonfederalvictimsmustbe
    paidbeforetheUnited Statesispaid.
NameofPavee                                            TotalLoss*             Restifution Ordered             PrioritvorPercentaee




TOTALS                                                              $0.00                             $0.00

I--I Restitutionamountorderedpursuantto pleaagreement$
Z Thedefendantmustpayinterestonrestitutionandatineofmorethan$2,500,unlesstherestitutionorfineispaidinfu11beforethe
  fifteenthdayafterthedateofthejudgment,pursuantto13U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
     to penaltiesfordelinquencyanddefaultspursuantto lsU.S.
                                                          C.j3612(g).
     Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopay interestanditisorderedthat:
     IEEItheinterestrequirementiswaivedforthe E1 fine ID restitution.
     (
     -7 theinterestrequirementforthe            F-1 fine I
                                                         --1 restitutionismodiGedasfollows:


*FindingsforthetotalamountoflossesarerequiredunderChapters109A, 110,1IOA,and 113A ofTitle 1$foroffensescomm itted on
oraherSeptem ber13,1994,butbeforeApril13,1996.
          Case 4:12-cr-00014-JLK             Document 170 Filed 02/25/13                     Page 6 of 6      Pageid#:
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                           tions6/05)JudgmentinaCriminalCase
          Sheet6-ScheduleofPayments
                                                                                              Judgment-Page    6   of         6
D EFEN DA N T: BUFORD LEAN DER PRESTON
CA SE N U M BER :DVAW 412CR000014-005

                                             SCHEDULE O F PAYM ENTS
Havingassessedthedefendant'sability topay,thetotalcrim inalmonetarypenaltiesaredueimm ediately andpayableasfollows:

A K Lumpsum paymentof$ 100.00                        immediately,balancepayable
          N    notlaterthan                              ,or
     Z inaccordance I-Ic, Z D, Z E, Z For, Z G belowl;or
B EI Paymenttobeginimmediately(maybecombinedwith Q c, Z D, Z F,or Z Gbelowl;or
C Z Paymentinequal                (e.g.,weekly,monthly,quarterly)installmentsof$ overaperiodof
                       (e.g.,monthsoryears),tocommence                (e.
                                                                        g.,30or60days)aherthedateofthisjudgment;or
D Z Paymentinequal                          (e.g.sweekly,monthly,quarterly)installmentsof$                    overaperiodof
                       (e.g.,monthsoryears),tocommence                (e.
                                                                        g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or

E Z Paymentduringtheterm ofsupervisedreleasewillcommencewithin                           (e.g.,30or60days)afterreleasefrom
          imprisonm ent.Thecourtwillsetthepaym entplanbasedonan assessm entofthedefendant'sabilitytopay atthattim e;or
F Z Duringtheterm ofimprisonment,paymentinequal                         (e.4..weeklv,monthly,quarterly)installmentsof
         $               ,or       % ofthedefendant'sincome,whicheverlsgreate!,tocommence                    (e.g.,30 or
         60days)afterthedateofthisjudgment;AND paymentinequal                  (e.g.,weekly,monthly,quarterly)
         installmentsof$              duringtheterm ofsupervisedrelease,tocommence                 (e.g.,30or60days)
         afterreleasefrom imprisonm ent.
G Z Specialinstnlctionsregardingthepaymentofcriminalmonetarypenalties:


Anyinstallmentscheduleshallnotprecludeenforcementoftherestitutionorfineorderby theUnited Statesunder18U.S.C jj3613and
3664(m).
Anfyinstallmentsctleduleissubjgcttoadjustmentbythecourtatanytimeduringtheperiodof imprisonmrntprsupervision,andthe
de endantshallpotlfytheprobatlonofticerandtheU.S.Attorney ofanychangein thedefendant'seconomlcclrcumstancesthatmayaffectthe
defendant'
         sabillty to pay.
Al
d  lcriminalmonetarypenaltiesshallbemadepayabletotheClerk,U.S.DistrictCourt,P.O.Box1234,Roanoke,Virginia24006,for
 lsbursem ent.
Thedefendantshallreceivecreditfora11paymentspreviously madetoward any criminalmonetarypenaltiesimposed.
Z JointandSeveral
     DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,
     andcorrespondingpayee,ifappropriate.




(
Z1 Thedefendantshallpaythecostofprosecution.
l-7 Thedefendantshallpaythefollowingcourtcostts):
IZI Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:


 Paymentsshallbeapplied inthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitution interest,(4)fineprincipal,
 (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecution andcourtcosts.
